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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION


Samuel Henderson
Plaintiff
v.                                                             3:17-CV-02211
                                                               Civil Action No.
Dallas Area Rapid Transit
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,



Dallas Area Rapid Transit ("DART")

provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.
None




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

Samuel Henderson, Plaintiff;
Dallas Area Rapid Transit, (DART) Defendant;
Higinio "Gene" Gamez, DART Assistant General Counsel, DART Legal Department;
Scott Carlson, DART General Counsel, DART Legal Department.
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                                                              Date:
                                                                                   08/18/2017
                                                              Signature:
                                                                                   s/ Higinio Gamez
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
